IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
COLUMBIA DIVISION

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UNITED STATES OF AMERICA cR. No.: Z?’
18 U.s.c. § 1952(a)(3)
18 U.s.c. § 2
v 18 U.s.c. § 1349
18 U.s.c. § 1346
18 U.s.c. § 1343
21 U.S.c. § 841(a)(1)
RACHEL BURGESS 21 U.s.c. § 841(b)
INDICTMENT

 

THE GRAND JURY CHARGES:

l. While employed at the South Carolina Department of

Corrections, the Defendant RACHEL BURGESS accepted bribes to

smuggle contraband - including cellphone, cellphone
accessories, and narcotics - into a SCDC institution for
inmates.

COUNT l

(Use of Interstate Facility to Facilitate Bribery)
2. In or around October 2015 through April 2016, in the
District Of gouth carolina, the Defendant RACHEL BURGESS used

a facility in interstate commerce, with intent to promote,

establish, carry on, and facilitate unlawful activity; to
wit,

a. bribery in violation of SC Code §8-13-705; that
is, Defendant RACHEL BURGESS, directly and
indirectly, knowingly accepted, received, and
agreed to receive something of value as a public
official in South Carolina for himself and
another in return for being influenced in the
discharge of his official responsibilities; and

b. bribery in violation of SC Code §16-9-220; that
is, Defendant RACHEL BURGESS corruptly accepted
something of value and a promise to supply
something of value as an officer in South
Carolina for his benefit in exchange for the
improper use of the power of his position;

and thereafter performed and attempted to perform an act to
promote, establish, carry on, and facilitate the unlawful
activity. All in violation of Title 18, United States Code,

Sections 1952(a)(3) and 2.

COUNT 2
(Honest Services Wire Fraud Conspiracy)

2. In or around October 2015 through April 2016, in the
District of South. Carolina, the Defendant RACHEL BURGESS
knowingly did conspire and agree with others known and unknown
to devise and intend to devise a scheme and artifice to
defraud and deprive South Carolina, and its citizens, of the
right to honest and faithful services of RACHEL BURGESS
through bribery and to knowingly and intentionally transmit
and cause to be transmitted by means of wire communication in
interstate commerce signals, signs, and sounds for the
purpose of executing such scheme and artifice. All in
violation of Title 18, United States Code, Sections 1349,

1346, and 1343 .

COUNT 3
(Possession with Intent to Distribute Narcotics)

3. On or about March 26, 2016, in the District of South
Carolina, the Defendant RACHEL BURGESS knowingly and
intentionally did_ possess with intent to distribute
marijuana, a Schedule I controlled substance, in violation of

Title 21, United States Code, Sections 84l(a)(l) and

84l(b) (l) (D) .

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FOREPERSON

BETH DRAKE (jnr)
UNITED STATES ATTORNEY

